USCA4 Appeal: 23-1509   Doc: 16     Filed: 06/19/2023   Pg: 1 of 5




                                       23-1509

                   United States Court of Appeals
                                          for the
                                  Fourth Circuit

                                   JASON GOODMAN,

                                                              Defendant-Appellant,

                                          – v. –

             KATHY STEELE, Administrator of the Estate of Robert David Steele,
                      and EARTH INTELLIGENCE NETWORK,

                                                                Plaintiffs-Appellees.


                INTERLOCUTORY APPEAL FROM THE UNITED STATES
             DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA



                           INFORMAL RESPONSE BRIEF



           STEVEN S. BISS
           LAW OFFICE OF STEVEN S. BISS
           300 West Main Street, Suite 102
           Charlottesville, VA 22903
           (804) 501-8272
           (202) 318-4098
           stevenbiss@earthlink.net
           Counsel for Plaintiffs-Appellees
USCA4 Appeal: 23-1509      Doc: 16          Filed: 06/19/2023   Pg: 2 of 5




                                 INFORMAL RESPONSE BRIEF

              Plaintiffs-Appellees, Kathy Steele, Administrator of the Estate of Robert

        David Steele, Deceased, and Earth Intelligence Network (“Appellees”), by counsel,

        pursuant to Local Rule 34(b), submit the following Informal Response Brief:

                                      The Court Has No Jurisdiction

              1.     On May 10, 2023, Appellees filed a motion to dismiss this appeal and

        for an award of attorney’s fees pursuant to FRAP 38. [Doc 5].

              2.     Defendant-Appellant, Jason Goodman (“Goodman”), filed a response

        to Appellees’ motion to dismiss. [Doc 11]. Goodman’s response fails to address

        the jurisdictional defects.

              3.     The Court should dismiss this frivolous appeal without more.

                         Response to Goodman’s Informal Brief – Issue 1

              4.     Robert David Steele’s “cause of action” for defamation plainly arose

        before his death in August 2021. Therefore, it survives his death under Virginia

        law. See 8.01-25 of the Virginia Code (1950), as amended. The District Court

        found that substitution of Kathy Steele, Administrator of the Estate of Robert

        David Steele, for Robert David Steele, Deceased, was “timely and proper under

        Federal Rule of Civil Procedure 25(a)”. The Court correctly ruled that Kathy

        Steele has standing to pursue the claims. Estate of Steele v. Goodman, 2022 WL

        4274120, at * 1 fn. 1 (E.D. Va. 2022) (Gibney, J.); see Kittrell v. Fowler, 301 Va.



                                                     1
USCA4 Appeal: 23-1509     Doc: 16       Filed: 06/19/2023    Pg: 3 of 5




        25, 29-30, 870 S.E.2d 210 (2022) (“Upon her death in 2014, any viable claim

        relating to the sale of her minority interest in Hurley, LLC passed to her estate and

        may only be pursued by the estate’s personal representative”).

                        Response to Goodman’s Informal Brief – Issue 2

              5.     Goodman failed to present any evidence to support his amended

        motion for summary judgment. The District Court correctly denied Goodman’s

        motion. [ECF No. 85].

                        Response to Goodman’s Informal Brief – Issue 3

              6.     Issue 3 was never raised by Goodman in his amended motion for

        summary judgment. For this reason alone, it should not be considered. Further,

        Goodman presented this issue in a motion to reassign case and to hold plaintiff in

        contempt. The District Court denied Goodman’s motion. [ECF No. 58]. Goodman

        did not appeal that Order. Goodman also raised the issue by letter motion filed in a

        closed case (Case 3:17-cv-601). Judge Lauck denied Goodman’s letter motion.

        [Case 3:17-cv-00601-MHL Document 220]. Goodman did not appeal.



        DATED:       June 19, 2023




                                                 2
USCA4 Appeal: 23-1509   Doc: 16         Filed: 06/19/2023   Pg: 4 of 5




                                  KATHY STEELE, Administrator of the Estate of
                                      Robert David Steele
                                  EARTH INTELLIGENCE NETWORK



                                  By:   /s/ Steven S. Biss
                                        Steven S. Biss (VSB # 32972)
                                        300 West Main Street, Suite 102
                                        Charlottesville, Virginia 22903
                                        Telephone: (804) 501-8272
                                        Facsimile: (202) 318-4098
                                        Email: stevenbiss@earthlink.net

                                        Counsel for Plaintiffs-Appellees




                                                 3
USCA4 Appeal: 23-1509     Doc: 16         Filed: 06/19/2023   Pg: 5 of 5




                        CERTIFICATE OF FILING AND COMPLIANCE

              I hereby certify that on June 19, 2023, I caused Plaintiffs-Appellees’

        Informal Response Brief to be filed electronically with the Clerk of the Court using

        the CM/ECF System, which will send notice of such filing to defendant-appellant

        Goodman.

              I further certify that on June 19, 2023, I caused the required copies of this

        Motion to be served on defendant-appellant Goodman.




                                    By:   /s/ Steven S. Biss
                                          Steven S. Biss (VSB # 32972)
                                          300 West Main Street, Suite 102
                                          Charlottesville, Virginia 22903
                                          Telephone: (804) 501-8272
                                          Facsimile: (202) 318-4098
                                          Email: stevenbiss@earthlink.net

                                          Counsel for Plaintiffs-Appellees




                                                   4
